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               EXHIBITA
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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

GRACIELA R. GARCIA,                                    §
    Plaintiff,                                         §
                                                       §
v.                                                     §
                                                              CIVIL ACTION NO. 4:21-cv-00837
                                                       §
BIG LOTS STORES, INC.,                                 §          JURY TRIAL DEMANDED
     Defendant.                                        §
                                                       §



                           DEFENDANT’S INDEX OF MATTERS BEING FILED


          Defendant Big Lots, Inc. files this Index of Matters Being Filed pursuant to Local

Rule 81 of the Southern District of Texas, as follows:

          (1)        All Executed Process:

                          x    Civil Process Request Form for Big Lots, Inc.
                          x    Citation and Affidavit of Service

          (2)        All State Court Pleadings:

                          x    Plaintiff's Original Petition filed February 9, 2021
                          x    Defendant's Original Answer filed March 8, 2021

          (3)        State Court Docket Sheet

          (4)        List of all Counsel of Record




GARCIA/DEFENDANT BIG LOTS, INC.
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                EXHIBIT3
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                                                          Cൺඌൾ Nඈ. 2021CVF000276D2

 GRACIELA GARCIA,Graciela Garcia VS. BIG LOTS STORES, INC.               §                             Injury or Damage - Other Injury
                                                                                           Case Type:
                                                                         §                             or Damage (DC)
                                                                         §                  Subtype: Other Injury or Damage (DC)
                                                                         §                 Date Filed: 02/09/2021
                                                                         §                  Location: --111th District Court


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                                                                                                            Attorneys
 Defendant     BIG LOTS STORES, INC.


 Plaintiff     GARCIA, GRACIELA R.                                                                          RICHARD JASON NAVA
                                                                                                             Retained
                                                                                                            713-661-9900(W)


 Plaintiff     Garcia, Graciela R.                                                                          RICHARD JASON NAVA
                                                                                                             Retained
                                                                                                            713-661-9900(W)


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            OTHER EVENTS AND HEARINGS
 02/09/2021 Civil Case Filed (OCA)
 02/09/2021 Original Petition
              PLAINTIFF'S ORIGINAL PETITION. (DV)
 02/09/2021 Jury Demand
              JURY DEMAND REQUESTED AND PAID BY ATTORNEY RICHARD JASON NAVA. (DV)
 02/10/2021 Calendar Call
              CALENDAR CALL FAXED TO ATTORNEY (EA)
 02/10/2021 Citation-Issuance
              TWO CITATIONS ISSUED-HELD BY CLERK PENDING COPIES AND S.A..S.E. (EA) CITATION WITH PETITION MAILED TO NAVA LAW
              GROUP, PC ON 3/9/21 (YR)
 02/10/2021 Citation
               BIG LOTS STORES, INC.                                 Unserved
 03/02/2021 Atty Request - Copies
              LETTER FROM ATTORNEY RICHARD JASON NAVA- REQUESTING COPY
 03/08/2021 Answer-Defendant
              DEFENDANT BIG LOTS STORES, INC.'S ORIGINAL ANSWER AND VERIFIED DENIAL
 03/09/2021 Letter
              LETTER FROM ATTORNEY SARA KRUMHOLZ DATED 03/08/21 RE: REQUEST AND PAYMENT FOR COPIES
 05/10/2021 Calendar Call (11:00 AM) (Judicial Officer Notzon, Monica Z.)




publicaccess.webbcountytx.gov/PublicAccess/CaseDetail.aspx?CaseID=883365                                                                 1/1
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                EXHIBIT4
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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

GRACIELA R. GARCIA,                               §
    Plaintiff,                                    §
                                                  §
v.                                                §
                                                         CIVIL ACTION NO. 4:21-cv-00837
                                                  §
BIG LOTS STORES, INC.,                            §         JURY TRIAL DEMANDED
     Defendant.                                   §
                                                  §



                        DEFENDANT’S LIST OF ALL COUNSEL OF RECORD


          Defendant BIG LOTS STORES, INC. files this List of Counsel pursuant to Local

Rule 81 of the Southern District of Texas as follows:

          A list of all counsel of record, including addresses, telephone numbers and

parties represented.

                Counsel for Plaintiff
                Graciela R. Garcia
                Richard Jason Nava
                2107 Shiloh Drive
                LAREDO, TEXAS 78405
                Telephone: 956.226.4230


                Counsel for Defendant
                Big Lots Stores, Inc.
                Zach T. Mayer, Attorney-in-Charge
                Sara J. Krumholz
                MAYER, LLP
                750 North Saint Paul Street, Suite 700
                Dallas, Texas 75201
                Telephone: 214.379.6900


GARCIA/DEFENDANT BIG LOTS, INC.
NOTICE OF REMOVAL - LIST OF ALL COUNSEL
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